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 EXHIBIT C
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                      UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF PENNSYLVANIA

Bobrick Washroom Equipment, Inc.,

    Plaintiff                                  Civil Action No. 3:14-CV-00853-RDM
         v.
                                                        Hon. Robert D. Mariani
Scranton Products, Inc.,

    Defendant


                         AFFIDAVIT OF WILLIAM FITCH

      1.        I, William Fitch, declare as follows:

      2.        I am a licensed Professional Engineer in the states of Florida and

Texas.

      3.        I am also a non-litigation consultant for Bobrick on fire testing issues.

      4.        I am not familiar with Scranton Products, Inc.’s marketing and

advertising of toilet partitions as “E84,” “Class A,” or “Class B” compliant.

      5.        I was not involved in the decision to bring the Third Enforcement

Action against Scranton Products, and have not been involved in any discussions

or decisions concerning the Third Enforcement Action.

      6.        I do not intend to testify at the evidentiary hearing on Bobrick’s Third

Enforcement Action.

      7.        I therefore do not have information relevant to the Third Enforcement

Action.
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      I declare under penalty of perjury under the laws of the United States of

America that the foregoing is true and correct. Executed on May 29, 2024 in Ft.

Lauderdale, Florida.

                                                   /s/ William Fitch
                                                   William Fitch




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